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                               EXHIBIT C
  Case: 1:16-cv-09429 Document #: 44-3 Filed: 04/18/17 Page 2 of 2 PageID #:616



From: <Tiffany.Larew@pnc.com>
Date: October 17, 2012 at 6:44:33 PM GMT+3
To: Hassan Abbas <haa-law@hotmail.com>
Cc: <ann.muldoon@pnc.com>, <janet.rife@pnc.com>, SANTO TERENZIO <sptlaw@sbcglobal.net>
Subject: Re: Midamines sprl - PINACLE WEB WIRE Service Set up - Business Options Visa

Hassan,

I do show this as being available for you. I will have Ann reach out to you or Santo regarding Pinnacle.

Thanks!

Tiffany A. Larew, MBA
Assistant Vice President, Branch Manager
Carol Stream Branch
NMLS ID: 575348

PNC Bank
560 West Army Trail Road (Mail Stop: D1-Y808-01-01)
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From:      Hassan Abbas <haa-law@hotmail.com>
To:        <ann.muldoon@pnc.com>, SANTO TERENZIO <sptlaw@sbcglobal.net>
Cc:        <janet.rife@pnc.com>, <tiffany.larew@pnc.com>, Hassan Abbas <haa-law@hotmail.com>
Date:      10/16/2012 06:27 PM
Subject:   Midamines sprl - PINACLE WEB WIRE Service Set up - Business Options Visa


Dear Tiffany:
It was good to meet you.

Dear Ann:
Thank you for your email and phone call.


Please note the check of $35,110.72 was deposited in New York into the PNC account of MIDAMINES SPRL (Acct. No.
4804895549)
and I have learned today that it was credited to the account of Midamines sprl, and the funds are available. Please confirm.

At this time, as I am travelling in Europe, I would like to set up the PINACLE Web Wire, for the Midamines sprl account, so
that I can connect online and make transfers etc.
Please let me know how we can start this service and you can reach me at 011 32 484 726 711 during my travels, if you have
any questions,
or please email to me at haa-law@hotmail.com if you need further information. I am also interested in the Business Options
Visa and please
could tell me more about that card and service.

If I am not reacheable then please call my colleague Santo Terenzio at (630) 233 0621 who can assit me in the set up of
PINACLE.

Thank you for your cooperation.

Hassan Abbas
Director &
Attorney at Law
On behalf of Midamines Sprl
